                       Case 1:02-cr-05050-AWI Document 361 Filed 09/14/15 Page 1 of 1
$2 5HY 2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F             3DJHRI 3DJH1RWIRU3XEOLF'LVFORVXUH


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                                                                          IRUWKH
                                                         Eastern District of California
                                                       BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                    JOSE TRINIDAD LOPEZ
                                                                                 &DVH1R 1:02-cr-05050-005
                                                                                 8601R 60654-097
'DWHRI2ULJLQDO-XGJPHQW                             05/12/2003
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                               Hannah Rose Labaree, FD (OR Pro Se)
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI ✔   u WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u      ✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI   235                     PRQWKVis reduced to 188 months on each of Counts
                                              (Complete Parts I and II of Page 2 when motion is granted)           One and Two, to be served
                                                                                                                   concurrently for a total term of
                                                                                                                   188 months.




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                           05/15/2003              VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED

2UGHU'DWH                  09/14/2015                                                           /s/ ANTHONY W. ISHII
                                                                                                          Judge’s signature


(IIHFWLYH'DWH              11/01/2015                                        Senior United States District Judge Anthony W. Ishii
                      (if different from order date)                                                    Printed name and title
